    Case 20-03195-sgj Doc 58 Filed 05/21/21                    Entered 05/21/21 23:25:35               Page 1 of 5




The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 19, 2021
______________________________________________________________________




                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION


                                            )
     In re:                                 )                               Chapter 11
                                            )
     HIGHLAND CAPITAL MANAGEMENT, L.P., 1 )
                       Debtor,              )                               Case No. 19-34054-SGJ11
                                            )
     OFFICIAL COMMITTEE OF UNSECURED        )
     CREDITORS,                             )
                       Plaintiff,           )
                                            )
            vs.                             )
                                                                            Adversary Proceeding No. 20-03195
                                            )
     CLO HOLDCO, LTD., CHARITABLE DAF       )
     HOLDCO, LTD., CHARITABLE DAF FUND, LP,
     HIGHLAND DALLAS FOUNDATION, INC., THE )
     DUGABOY INVESTMENT TRUST, GRANT        )
     JAMES SCOTT III IN HIS INDIVIDUAL      )
     CAPACITY, AS TRUSTEE OF THE DUGABOY
     1
      The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
     for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
Case 20-03195-sgj Doc 58 Filed 05/21/21                     Entered 05/21/21 23:25:35               Page 2 of 5



 INVESTMENT TRUST, AND AS TRUSTEE OF                              )
 THE GET GOOD NONEXEMPT TRUST, AND                                )
 JAMES D. DONDERO,
                                                                  )
                            Defendants.                           )
                                                                  )


 ORDER GRANTING THE MOTION FOR EXPEDITED HEARING ON THE OFFICIAL
  COMMITTEE OF UNSECURED CREDITORS’ EMERGENCY MOTION TO STAY
             THE ADVERSARY PROCEEDING NINETY DAYS

          On this day, the Court considered the Official Committee of Unsecured Creditors’ (the

 “Committee”) Motion for Expedited Hearing on the Official Committee of Unsecured Creditors’

 Emergency Motion to Stay the Adversary Proceeding Ninety Days (the “Motion for Expedited

 Hearing”). Based on the pleadings on file, the Court finds that good cause exists to grant the

 Motion for Expedited Hearing. Therefore, the Court GRANTS the Motion for Expedited Hearing.

          IT IS THEREFORE ORDERED that the Motion for Expedited Hearing is GRANTED.

          IT IS FURTHER ORDERED that a hearing for the Motion to Stay the Adversary

 Proceeding is set for 9:30 am C.T. on May 20, 2021. The Committee shall also file with the Court

 a notice of hearing for the Motion to Stay the Adversary Proceeding.

          IT IS FURTHER ORDERED that the Committee’s response deadlines for the pending

 Motions to Dismiss 2 and Motions to Withdraw the Reference are stayed until the later of (1) five

 business days after the Court enters an order on the Motion to Stay the Adversary Proceeding or

 (2) upon expiration of the 90-day stay of the Adversary Proceeding sought in the Committee’s

 Motion to Stay the Adversary Proceeding.

          This Court shall retain jurisdiction over all matters arising from or relating to the

 interpretation or implementation of this Order.


 2
   Capitalized terms used but not defined herein shall have the respective meanings given to them in the Motion to Stay
 the Adversary Proceeding.
Case 20-03195-sgj Doc 58 Filed 05/21/21   Entered 05/21/21 23:25:35   Page 3 of 5



                                ### End of Order ###
            Case 20-03195-sgj Doc 58 Filed 05/21/21                                  Entered 05/21/21 23:25:35                        Page 4 of 5
                                                              United States Bankruptcy Court
                                                                Northern District of Texas
Official Committee of Unsecured Creditor,
       Plaintiff                                                                                                       Adv. Proc. No. 20-03195-sgj
CLO Holdco, Ltd.,
       Defendant
                                                     CERTIFICATE OF NOTICE
District/off: 0539-3                                                  User: mmathews                                                              Page 1 of 2
Date Rcvd: May 19, 2021                                               Form ID: pdf001                                                            Total Noticed: 5
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 21, 2021:
Recip ID                 Recipient Name and Address
ust                    + Cheryl Wilcoxson, US Trustee, 1100 Commerce St., Ste. 976, Dallas, TX 75242-0996
dft                    + The Dugaboy Investment Trust, c/o D. Michael Lynn, 420 Throckmorton Street, Suite 1000, Fort Worth, TX 76102-3727

TOTAL: 2

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
ust                    + Email/Text: ustpregion06.ty.ecf@usdoj.gov
                                                                                        May 19 2021 21:04:00      US Trustee, Office of the U.S. Trustee, 110 N.
                                                                                                                  College Ave., Suite 300, Tyler, TX 75702-7231
ust                    + Email/Text: ustpregion07.hu.ecf@usdoj.gov
                                                                                        May 19 2021 21:04:00      US Trustee, Office of the US Trustee, 515 Rusk
                                                                                                                  Ave, Ste 3516, Houston, TX 77002-2604
ust                    + Email/Text: ustpregion06.da.ecf@usdoj.gov
                                                                                        May 19 2021 21:04:00      United States Trustee, 1100 Commerce Street,
                                                                                                                  Room 976, Dallas, TX 75242-0996

TOTAL: 3


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
ust                            Sandra Nixon, U.S. Trustee
ust                            mario zavala
ust              *+            US Trustee, Office of the U.S. Trustee, 110 N. College Ave., Suite 300, Tyler, TX 75702-7231

TOTAL: 2 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 21, 2021                                            Signature:           /s/Joseph Speetjens
            Case 20-03195-sgj Doc 58 Filed 05/21/21                             Entered 05/21/21 23:25:35                      Page 5 of 5
District/off: 0539-3                                             User: mmathews                                                            Page 2 of 2
Date Rcvd: May 19, 2021                                          Form ID: pdf001                                                          Total Noticed: 5

                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 19, 2021 at the address(es) listed below:
Name                            Email Address
Bryan C. Assink
                                on behalf of Defendant James D. Dondero bryan.assink@bondsellis.com

Douglas S. Draper
                                on behalf of Defendant The Get Good Nonexempt Trust ddraper@hellerdraper.com
                                dhepting@hellerdraper.com;vgamble@hellerdraper.com

Douglas S. Draper
                                on behalf of Defendant The Dugaboy Investment Trust ddraper@hellerdraper.com
                                dhepting@hellerdraper.com;vgamble@hellerdraper.com

John J. Kane
                                on behalf of Defendant Grant James Scott III jkane@krcl.com ecf@krcl.com;jkane@ecf.courtdrive.com

Louis M. Phillips
                                on behalf of Defendant Highland Dallas Foundation Inc. louis.phillips@kellyhart.com, june.alcantara-davis@kellyhart.com

Louis M. Phillips
                                on behalf of Defendant CLO Holdco Ltd. louis.phillips@kellyhart.com, june.alcantara-davis@kellyhart.com

Paige Holden Montgomery
                                on behalf of Plaintiff Official Committee of Unsecured Creditors pmontgomery@sidley.com
                                txefilingnotice@sidley.com;paige-montgomery-7756@ecf.pacerpro.com;crognes@sidley.com;ebromagen@sidley.com;efilingnoti
                                ce@sidley.com

William R. Howell, Jr.
                                on behalf of Defendant James D. Dondero william.howell@bondsellis.com williamhowell@utexas.edu


TOTAL: 8
